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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 19-cr-00098-CMA

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 LEONARD LUTON,

        Defendant.


                      GOVERNMENT’S SENTENCING STATEMENT


        On February 13, 2020, a jury found the defendant guilty of nine of ten counts of the

 Superseding Indictment, specifically Count One, which charged Conspiracy to Commit Mail

 Fraud, and Counts Two, Three, and Five through Ten, which charged Aiding and Abetting Mail

 Fraud. The jury acquitted on Count Four, which pertained to S.O.’s mailing of a $45,000 cashier’s

 check to S.P. As explained at trial, that particular check was intercepted by law enforcement and

 returned to S.O. before the funds could be sent along to the defendant in this case. The

 defendant is scheduled to be sentenced on May 12, 2020, at 2:00 p.m.

        As set forth in this Sentencing Statement, the United States Sentencing Guidelines

 (“U.S.S.G.” or “guidelines”) recommend that the defendant be imprisoned for between 87 and

 108 months. Through this filing and at the sentencing hearing, the government will argue, under

 a preponderance of the evidence standard, that the appropriate sentence is 108 months

 incarceration, to be followed by three years of supervised release, a restitution judgment in

 the amount of $994,793.75, and a forfeiture money judgment in the amount of fraud proceeds

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 that are directly attributable to this defendant. A sentence at the high-end of the guidelines is

 sufficient, but not greater than necessary, to advance the sentencing objectives set forth in

 18 U.S.C. § 3553(a).

    THE SENTENCE RECOMMENDED BY THE ADVISORY SENTENCING GUIDELINES

        The base offense level is 7 because the defendant was convicted of mail fraud, which

 carries a maximum sentence of twenty years imprisonment, U.S.S.G. § 2B1.1(a)(1); plus

 14 levels as a result of the defendant conspiring to cause losses of more than $550,000 but less

 than $1.5 million, U.S.S.G. § 2B1.1(b)(1)(H); plus 2 levels because this offense caused

 substantial financial hardship to S.O., U.S.S.G. §2B1.1(b)(2)(A)(iii); plus 2 more levels because

 a substantial part of the scheme was committed from outside the United States, U.S.S.G. §

 2B1.1(b)(10)(B); plus 2 more levels because S.O. was a vulnerable victim, and the defendant

 knew, or should have known this fact, given the facts established at trial, U.S.S.G § 3A1.1(b)(1);

 and 2 more levels because the defendant tried to obstruct justice by lying to law enforcement

 during his post arrest interview, committing perjury at trial, and directing others to erase his iCloud

 account after his arrest. U.S.S.G. § 3C1.1. The defendant has not accepted responsibility for this

 offense and should receive no related decrease. The total offense level is therefore 29.

        Based on the government’s information at this time, the defendant’s criminal history will

 likely place him into Category I. Coupled with an offense level of 29, the guidelines recommend

 that the defendant be imprisoned for between 87 and 108 months.




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                  ANALYSIS OF THE 18 U.S.C. § 3553(A) FACTORS
             SUPPORT A SENTENCE AT THE HIGH-END OF THE GUIDELINES

        A sentence of 108 months is fully supported by each of the factors set forth in 18 U.S.C.

 § 3553(a). A sentence at the high-end of the guidelines also appropriately reflects the defendant’s

 obstructive conduct (both during the investigation of this matter and at trial), which was significant.

   I.   Nature & Circumstances of the Offenses

    A. The conspiracy to defraud S.O.

        The Court heard extensive evidence of this criminal conspiracy at trial. In short, the harm

 inflicted by the defendant was substantial, and it fully supports the sentence recommended by

 the government.

        The evidence at trial established that between February 2018 and January 22, 2019,

 the defendant’s co-conspirator, Rajay Dobson, calling himself “Frank White,” convinced the

 victim, S.O. from Estes Park, Colorado, that she had won a $2.8 million dollar lottery and

 a Mercedes Benz. White told S.O. she needed to mail cash, cashier’s checks, and

 cellphones via UPS and FedEx to pay the “fees” required in order to receive her prizes.

 White directed S.O. to mail these payments to the defendant’s mailing address and to the

 addresses of his friends and associates.

        In addition, White directed S.O. to mail some of the cashier’s checks to a woman

 with the initials S.P. who lived in Grandville, Michigan. White also directed S.O. to wire

 funds to S.P., which S.O. did. In total, S.O. sent over $150,000 to S.P. at White’s direction.

 Bank and Western Union records confirm this amount.

        An interstate investigation by federal and local law enforcement confirmed that

 S.P. was used in this scheme as a money mule. S.P. also had been told that she had

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 won a lottery, in her case a prize of $5 million dollars, and that in order to receive her

 winnings, she needed to receive money from others and send it on. She received

 instructions from a man calling himself “David.” David told S.P. that once she deposited

 funds received from S.O., S.P. was to obtain cashier’s checks made payable to the

 defendant. Specifically, screenshots from S.P.’s phone confirmed that she received a text

 message from David providing her with the defendant Leonard Luton’s name, his bank

 account, and routing information. The cashier’s checks written by S.O. were cashed out

 by S.P. and then deposited by S.P. into the same account listed in the text message she

 received from David. The defendant’s bank account records confirmed that these

 amounts were deposited into a Bank of America account in the defendant’s name, and

 for which he was the only signatory.

       White also directed S.O. to hand over cash in person on two separate occasions.

 The first instance occurred in October 2018, when White directed S.O. to hand over

 $65,000 in cash to persons who came to her home in Estes Park at approximately 1:30

 a.m. on October 3. At that time, a man knocked on S.O.’s door, identified himself as an

 FBI agent, showed S.O. what appeared to her to be a real FBI badge, and directed her

 to hand over the cash. S.O. walked down her sidewalk to talk to a man in the car in front

 of her house who represented himself to be the “merchant banker” White told her would

 come to her home. This “banker” instructed S.O. to hand over the cash to the man who

 had come to her door, and S.O. did so.

       White also directed S.O. to hand over approximately $39,000 in cash to persons

 who came to her home in Colorado on January 22, 2019. Law enforcement was involved


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 in this case by that time, and they had set up a covert operation to apprehend whoever

 arrived at S.O.’s home to pick up the funds. When the defendant and his girlfriend Stacy

 Byfield 1 arrived at S.O.’s home, they were both arrested. In his post-arrest interview, the

 defendant explained to the agents that he was at S.O.’s home at the direction of his friend

 Rajay Dobson, who asked the defendant to travel from the defendant’s home in Brooklyn,

 New York, to S.O.’s residence in Estes Park to pick up a package. At that time, he denied

 being part of the October hand-to-hand transaction, and indeed, he denied ever having

 been to Colorado before.

        The Cellebrite extraction of the defendant’s cellphone provided multiple phone

 numbers for Dobson, and the defendant confirmed two of those numbers during his

 post-arrest interview. The defendant, Dobson, and others communicated with each other

 via text messages and other messaging services about the addresses where particular

 packages S.O. mailed would arrive and the tracking numbers associated with those

 mailings. Call detail records of the defendant’s phone confirmed his presence at the

 address where a particular package was scheduled to arrive, around the time of the

 expected delivery. The government presented, through the expert testimony of Special

 Agent Kevin Hoyland, 19 instances where this occurred with respect to packages mailed

 by S.O. as directed by White. Voicemail messages left by Dobson and retrieved from the

 defendant’s phone indicated the two discussed the distribution of funds between

 themselves and others.



 1      Ms. Byfield pled guilty to misprison of a felony in Case No. 19-cr-00207-RBJ. She
 is scheduled to be sentenced on March 24, at 8:30 a.m.

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         At trial, the government presented certified bank records that established the

 withdrawals of funds from S.O.’s bank accounts, and the deposits into, and withdrawals

 of cash from, the defendant’s bank accounts. Many of these deposits occurred at or near

 the dates of deliveries of cash from S.O. The government also presented evidence of the

 defendant directing others to wire funds to Jamaica on multiple occasions, and of him

 paying his friends hundreds of dollars around the times of deliveries of S.O. packages to

 their addresses.

         The government proved, through the testimony of FBI Forensic Accountant Matt

 Morgan, that through this lottery scheme, the defendant and Dobson defrauded S.O. out

 of over $700,000 as alleged in the Superseding Indictment. However, at sentencing, the

 government will prove by a preponderance of the evidence, through the testimony of Mr.

 Morgan, that the total amount of loss to S.O. was $994,793.75.

     B. Obstruction enhancement pursuant to U.S.S.G. § 3C1.1.

         Section 3C1.1 provides for a two-level enhancement if the “(1) the defendant

 willfully obstructed or impeded, or attempted to obstruct or impede, the administration of

 justice with respect to the investigation, prosecution, or sentencing of the instant offense

 of conviction, and (2) the obstructive conduct related to (A) the defendant’s offense of

 conviction . . . .”

         The government submits that this enhancement applies due to 1) the lies the

 defendant told to the agents during his post-arrest interview, 2) the perjury he committed

 at trial, and 3) the directions he gave others to erase his iCloud account after his arrest.




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           1. Legal standards for the defendant’s lies during his post-arrest
              interview and for his perjury at trial.

        Application Note 4.(G) to § 3C1.1 provides that a two-level obstruction

 enhancement is warranted if a defendant provides “a materially false statement to a law

 enforcement officer that significantly obstructed or impeded the official investigation or

 prosecution of the instant offense.”

         Application Note 4.(B) to § 3C1.1 provides for a two-level obstruction

 enhancement when a defendant commits perjury “if such perjury pertains to the conduct

 that forms the basis of the offense of conviction.” To use perjury as a basis for an

 obstruction enhancement, the Court must determine 1) that the defendant gave false

 testimony under oath, 2) concerning a material matter, 3) and did so willfully “rather than

 as a result of confusion, mistake or faulty memory.” United States V. Dunnigan, 507 U.S.

 87, 94 (1993); United States v. Hawthorne, 316 F.3d 1140, 1145 (10th Cir. 2003). The

 district court is required to set forth the false statements it considered in imposing the

 enhancement. Hawthorne, 316 F.3d at 1146. While the district court need not cite the

 alleged perjury verbatim, it should “generally identify the testimony at issue” so that the

 appellate court can evaluate the findings without needing to speculate. Id.

        “Material,” as used in § 3C1.1 means “evidence, fact, statement, or information

 that, if believed, would tend to influence or affect the issue under determination.” § 3C1.1,

 App. N. 6. It is not necessary “that a defendant’s falsehood actually obstruct justice; an

 attempt to obstruct, even if thwarted, is sufficient.” United States v. Magana-Guerrero, 80

 F.3d 398, 400 (9th Cir. 1996) (citation omitted). Indeed, the threshold for materiality under

 § 3C1.1 is “conspicuously low.” United States v. Dedeker, 961 F.2d 164, 167 (11th Cir.

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 1992).

          The government submits that the following lies told by the defendant during his

 post-arrest interview and at trial support this enhancement.

             2. Examples of the defendant’s numerous lies during his post-arrest
                interview and his perjury at trial.

                     a.     The defendant lied in his post-arrest interview about the
                       October 2018 trip to S.O.’s house to pick up $65,000 in cash.

          During his post-arrest interview, the agents asked the defendant if he had ever

 been to Colorado before. This was important to the investigation, because law

 enforcement knew that in the early morning hours of October 3, 2018, individuals arrived

 at S.O.’s home and she handed over $65,000 in cash. The agents wanted to determine

 if the defendant was one of those individuals. The defendant at least twice told the agents

 he had never been to Colorado before, and in fact, “had never been to this side of the

 world before, never.” Govt. Ex. 21 (at 28:55 and 56).

          At trial, the defendant admitted—for the first time—that he had been in Colorado

 in October of 2018. Attachment 1 at 15-16 (defendant’s testimony on direct: “Q: Did you

 make a road trip to Colorado in October of 2018? A: Yes. I was part of a road trip here.”)

 Then later, he stated on direct that he didn’t remember being in Colorado because he

 “was fast asleep.” Id. at 17-18. In response to a question from his counsel of whether he

 remembered being in Estes Park, the defendant offered the nonsensical explanation of

 “[n]o, I am sure my body was there, but not in awareness.” Id. During cross-examination,

 the defendant was more definitive in his response as to whether he had been in Estes

 Park in October of 2018: “A: I know I was in Estes Park, because I told you that we


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 stopped. I know we were in Loveland.” Id. at 85. Later, the defendant was asked, “Q: So,

 you lied to the agents in January when you said, I have never been here before?” A: “I

 told you why I said that, about that lie.” Id.

        This lie significantly obstructed the investigation and prosecution of this case

 because the FBI and the government spent a considerable amount of time proving at trial

 that call detail records, text messages, and video taken from the defendant’s cellphone

 showed that he in fact traveled to Colorado in early October and was at S.O.’s residence

 during the time when she handed over $65K in cash. See Govt. Ex. 126C (Composite

 Exhibit of SA Hoyland’s Expert Report, Slides 8-11).

        The defendant tried to minimize his lie at trial, claiming he “cleared up” the issue

 when he testified. For example, on cross-examination, when pressed, he said: “Q: [y]ou

 didn’t clear it up in that interview, sir,” the defendant responded, “[b]ut I testified under

 oath that I am now.” Id. at 87. The government presented the jury with irrefutable evidence

 that the defendant was in Colorado in the early morning hours of October 3, 2018. Only

 then did the defendant decide to admit that in fact he was in Estes Park at that time. This

 recantation has no effect on the Court’s analysis of whether this material, false statement

 warrants an obstruction enhancement in this case. Cf. United States v. Thomas, 11 F.3d

 1392, 1401 (7th Cir. 1993) (in the context of lies to a pretrial services officer, defendant’s

 subsequent recantation of false statements had no effect on the issue because “3C1.1

 applies to attempts to obstruct justice as well as actual obstruction”) (emphasis in

 original).




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                    b.      The defendant lied during both his post-arrest interview
                      and at trial about how he came into possession of his cellphone,
                      which was mailed to his address by S.O.

       Records from Apple confirmed that the International Mobile Equipment Identity

 (IMEI) identifier on the cellphone seized from the defendant’s person at the time of his

 arrest at S.O.’s residence was the same IMEI for a cellphone purchased by S.O. as

 directed by White. S.O. mailed this cellphone to an address given to her by White,

 specifically an address in Brooklyn, NY, where the defendant lived with his mother. The

 package containing this cellphone was addressed to a fictitious “John Anderson,” and the

 defendant’s mother confirmed to law enforcement that the defendant took possession of

 the package upon delivery. However, when confronted with this evidence during his

 post-arrest interview, the defendant claimed that he bought this exact phone out of the

 trunk of his friend’s car. He stated that the phones mailed to his address by S.O. “didn’t

 come to [his] hands,” and that he “never physically received those phones. Never. I’m

 willing to do whatever tests you guys have to prove that. 100% sure. 100% sure.” Govt.

 Ex. 21 at 1:10.

       The defendant repeated this lie at trial. On direct examination, he testified that he

 bought the phone out of his friend’s car and paid him $800. Attachment 1 at 56. On

 cross-examination, he admitted that 1) the evidence showed the IMEI for his phone was

 the same IMEI as a phone purchased by S.O.; 2) the phone was mailed to his address;

 and 3) his mom confirmed receipt of the “John Anderson” package. The government

 proved through a FedEx receipt that the package of the other set of iPhones mailed to

 the defendant’s address by S.O. had been signed for, and provided evidence for the jury


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 to compare the signature on that form to one of the defendant’s bank signatory forms.

 Govt. Exs. 46 and 138. The defendant’s explanation for how he came into possession of

 the most damning piece of evidence in this case defies credulity. The victim’s phone being

 found on the defendant’s person was such a crucial piece of evidence because it proved

 that the defendant knew what was in this package mailed by S.O., a lie that formed the

 central tenet of his defense at trial. The defendant’s knowledge was an essential element

 of the crime and the jury’s verdict establishes that the government proved this element.

 See United States v. Michael, 411 F. App’x 167, 173 (10th Cir. 2011) (defendant was

 convicted of possession with intent to distribute marijuana and testified that he “lacked

 knowledge the crates in the trailer contained marijuana.” The jury’s verdict convicting him

 of this offense “necessarily indicated the jury did not find Michael’s testimony as to his

 knowledge truthful, since knowledge is an element of the offense for which Michael was

 convicted”).

        The defendant’s lies about never being in Colorado before and about how he

 obtained S.O.’s cellphone are both material and deserving of the obstruction

 enhancement.

                    c.      The defendant lied about the number of times he picked
                      up packages for Dobson.

        The defendant’s primary defense at trial was a lack of knowledge; specifically, that

 he did not know what was inside S.O’s packages that were delivered to his home and to

 the homes of his friends and associates. To support his purported lack of knowledge, the

 defendant testified at length at trial regarding an “off-the-books delivery business” that he

 supposedly ran for numerous friends inside and outside of Jamaica.

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        That was not the story he told investigators. In his post-arrest interview, the

 defendant stated his friend, Rajay Dobson, asked him to drive to S.O.’s residence to pick

 up a package and that the defendant was to give the package to Rajay’s brother, Greg.

 The defendant stated Dobson was to pay him $500 for picking up the package. He denied

 knowledge of what was in the package. When asked how many times Dobson had asked

 him to pick up packages for him, the defendant replied, “This is the first time.” Govt. Ex.

 21 at 0:28. Later in the interview, he stated he had been picking up packages for Dobson

 for the past year—coincidentally, the entire time period of the conspiracy. Id. at 1:28. The

 defendant’s initial statement that this was the first time he picked up a package for Dobson

 was a blatant lie.

        The defendant also never mentioned performing any “delivery services” for anyone

 else besides Dobson. Had the defendant told the agents of his supposed package pickup

 and delivery “business,” law enforcement would have proactively checked that claim as

 a material aspect of their investigation.

        At trial, when the clips from his videotaped interview were played, the defendant

 did not dispute changing his answer from picking up for the first time for Dobson versus

 picking up for the past year. Attachment 1 at 80-84. When pressed about this lie, he

 claimed that he was “literally sleeping” during his interview. Id. at 84.

        In total contradiction to his post-arrest interview, the defendant embroidered an

 elaborate lie at trial. He claimed that he did not know what was in S.O.’s packages,

 because he received so many packages in connection with his “delivery business” that

 he could not remember individual deliveries, and that, in any event, he never opened any


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 of his “customers’” packages. These statements, too, made under oath and upon pains

 and penalties of perjury, were false. Given that they formed the central basis for his

 defense and would have been a material component of the investigation, these lies

 appropriately merit an obstruction of justice enhancement

                    d.     The defendant lied about not knowing Byfield’s father’s
                      address.

       Finally, while the government cannot establish that the following statement

 significantly obstructed or impeded the investigation or prosecution of this case, the

 government maintains that the Court can take into consideration this additional lie as an

 example of the defendant’s obstruction and in fashioning an appropriate sentence.

       In the post-arrest interview, the agents asked the defendant about packages

 mailed by S.O. to 443 Tompkins Avenue in Brooklyn, New York. They asked if the

 defendant knew who lived at that address. The defendant stated, “No.” When told by the

 agents that Stacy’s dad lived there, the defendant responded, “She told me that. I never

 asked for her dad’s address.” Govt. Ex. 21 at 1:23.

       In the government’s case-in-chief, it disproved the defendant’s statements during

 his post-arrest interview, presenting evidence of the defendant sending this address to

 Dobson multiple times, and in fact, stating “use this.” Govt. Ex. 96. The defendant had

 been in a relationship with Byfield for three years, and she and her father lived close to

 the defendant. To claim to investigators that he did not know his girlfriend’s father’s

 address was yet another blatant lie, told in an effort to evade his culpability for these

 crimes.

       The defendant conceded as much at trial on cross-examination: Attachment 1 at

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 112 (“Q: [y]ou lied in your interview, when they [the agents] said, who lives at the

 Tompkins Avenue address, and you said that you didn’t know? A: Yeah. Q: That was a

 lie? A: I guess, ma’am. I don’t remember.”).

           3. Legal standards for the defendant’s obstruction by ordering the
              destruction of evidence.

        Application Note 4.(D) to § 3C1.1 provides that the defendant’s “directing or

 procuring another person to destroy or conceal evidence that is material to an official

 investigation” also qualifies as obstruction meriting a two-level enhancement. See also

 United States v. Curtis, 573 F. App’x 712, 728 (10th Cir. 2014) (affirming the district court’s

 application of the obstruction enhancement where defendant directed a client to delete

 all emails to or from the defendant, and rejecting the defendant’s argument that this “act

 of obstruction didn’t amount to a material hindrance to the investigation because law

 enforcement recovered almost all of the client’s emails anyway”; court noted that the

 “material-hindrance requirement only applies when the obstruction is contemporaneous

 with arrest”) (emphasis in original).

           4. The defendant directed others to delete his iCloud account shortly
              after he was arrested.

        As part of the government’s investigation, law enforcement interviewed

 individuals who lived at many of the addresses where S.O. had sent packages. One

 such address was located in Toms River, New Jersey, and was the address of one of

 the defendant’s friends, L.H. 2 During his interview, L.H. identified a photograph of the



 2      Count Two of the Superseding Indictment , for which the defendant was convicted
 by the jury, charges a mailing of $10,000 to this address.

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 defendant and stated he knew this individual as Bruce Luton. L.H. stated that he

 learned from a Ring video doorbell security system installed at his residence that Luton

 had retrieved packages mailed to L.H.’s address on approximately two occasions.

       In a February 1, 2019 interview with law enforcement, L.H. stated that he had

 received a call from Luton from a detention center. L.H. stated that the defendant was

 speaking in code because he knew jail phone calls were monitored. The call was a

 three-way call between the defendant, L.H. and a girl named “D.” L.H. stated that D

 was one of Luton’s girlfriends. 3 During this phone call, the defendant asked L.H. to go

 onto his iCloud account and erase it for him. According to L.H., the defendant told D

 during the call, “give L.H. the laptop and he will shut it down for me.” L.H. told law

 enforcement he did not feel comfortable erasing the defendant’s laptop and he told the

 defendant that he would not do it.

       On May 31, 2019, Special Agent Amy Howard executed a search warrant on Apple

 Inc. for the Apple iCloud account associated with the defendant’s email address,

 fass2rass@gmail.com (19-sw-05599-MEH). On June 19, 2019, Apple Inc. responded to

 the search warrant, stating that the defendant’s account was “active,” but there were no

 iCloud logs or IDS Query Logs with any associated activity, supporting the government’s

 argument that the defendant directed another to delete his iCloud account.

       L.H. was interviewed again on August 6, 2019, and confirmed that he

 participated in the three-way call described above, and reiterated that he did nothing



 3      L.H. also identified another girl he knows as “Robin” as one of Luton’s girlfriends.
 L.H. identified a photo of Stacy Byfield as Robin.

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 with Luton’s Apple account. Whether this deletion was performed by L.H. or someone

 else, the evidence is clear that the defendant’s direction that the iCloud account be

 deleted was accomplished.

       Finally, at the defendant’s detention hearing, the defendant admitted, through

 his counsel, that he directed another person to erase his iCloud account. His counsel

 stated, “It is understandable that [Luton] would want those pictures [private images of

 his girlfriend that were of a sexual nature] erased. He was not attempting to obstruct

 justice. He was attempting to protect his and his girlfriend’s privacy.” Attachment 2,

 March 21, 2019 detention hearing, Page 20.

       This post-hoc explanation made no sense. The defendant freely showed the

 agents the many pictures of naked women on his iPhone during his post-arrest

 interview and the defendant knew the agents seized his iPhone for the purpose of

 downloading all of the contents of that phone – which included over 100,000 photos. It

 makes no sense that the defendant would need to have his friends erase his iCloud

 account to protect the privacy of these women when the government already had the

 photos. The fact that the defendant went through the chicaneries of a three-way call

 from the detention center and speaking in code further supports the conclusion that he

 knew his directions were illegal. Given that the bulk of the evidence against this

 defendant was derived from his phone, the more logical explanation is that the

 defendant was attempting to destroy evidence related to the lottery scheme by deleting

 historical evidence that would have been backed up in his iCloud account.

       In its Order Denying Motion for Revocation of Detention Order, ECF 40, this


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 Court agreed, finding the defendant’s explanation for erasing the iCloud account

 unpersuasive. The Court noted “the low probability that some individual would gain

 access to the iCloud account. Furthermore, there is likely more information available

 on an iCloud account than is contained on Mr. Lutons iPhone, including information

 from multiple devices that are registered to the same iCloud account.” Id. at 15. The

 Court found the government proved by a preponderance of the evidence that if

 released, the defendant posed “a serious risk that he will obstruct or attempt to obstruct

 justice.” Id.

         For these same reasons, the government submits it has met its burden of

 proving by a preponderance of the evidence that the § 3C1.1 enhancement applies due

 to the defendant’s “directing or procuring another person to destroy or conceal evidence

 that is material to an official investigation.” § 3C1.1 App. N. 4(D);

         The Court could find that one or all of the defendant’s obstructive behaviors

 justify the obstruction enhancement. See United States v. Brown, 288 F. App’x 518,

 525-526 (10th Cir. 2008) (finding the defendant obstructed justice “in every possible

 way” by destroying evidence, lying to police officers, and committing perjury).

   II.   The defendant’s history and characteristics justify a 108-month sentence.

         The defendant immigrated to this country,4 supposedly to pursue the American dream

 pursued by so many before him. Rather than pursue legal employment and a legitimate life, The



         4      The parties dispute whether the defendant immigrated to this country
 legally. At trial, the government provided documents from the defendant’s immigration records
 which showed that he lied on his green card application about being denied entry at the border
 of this country under suspicious circumstances. When confronted on cross-examination about

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 defendant used his status in this country to facilitate a fraud against a vulnerable American

 victims for the financial benefit of himself and for his friend and co-conspirator back in Jamaica.

        For almost a year, this defendant was involved in picking up numerous packages of cash,

 cashier’s checks, and cellphones mailed by S.O. At any point, the defendant could have refused

 to pick up these packages. He could have refused to deposit the cash into his bank accounts;

 he could have declined to direct that money back to Jamaica. He could have told Dobson to find

 someone else to participate in this conspiracy, and he could have informed law enforcement.

        He did not. The money was too good. His actions did not trouble his conscience

 whatsoever. Instead he documented the trophies of his greed. Specifically, he had multiple

 photos of large quantities of cash on his phone, most notably a photo of the $65,000 in cash that

 S.O. handed over in October of 2018. He admitted that this photo was taken from his phone.

 Attachment 1 at 93-94 (discussing the photo of the $65K handed over by S.O.: “Q: [s]ir, this photo

 was retrieved from your phone, that was in your possession upon your arrest?” A: [y]eah.”). On

 cross-examination, he did not dispute that he was holding cash in certain photos; but, he

 incredibly claimed he was holding “fake money.” Id. at 126-27.

        Not once has this defendant accepted any responsibility or expressed any remorse for

 his actions. Instead, he lied repeatedly to the agents during his post-arrest interview, and he

 continued to lie to this Court and to the jury from the witness stand.

        Most importantly, this is a defendant who agreed to participate in a scheme to defraud an

 elderly victim; a woman who lived alone, had recently lost her husband, and was lonely. The



 this lie to immigration authorities, defendant claimed this was “a mistake” on the part of “the
 Customs Office.” Id. at 136-37.

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 defendant’s actions (and Dobson’s) in this regard are despicable and speak volumes about the

 characteristics of this defendant. Especially given that he callously refuses to acknowledge the

 damage his choices have caused, he deserves a significant sentence.

     III.   A sentence of at least 108 months is necessary to promote respect for the law and
            represents a just punishment for the defendant’s offenses.

            A significant sentence is necessary to make clear—both to this defendant and to

 others—that when scammers prey upon the most vulnerable members of our society, the

 consequences will be severe. The 108-month sentence sought by the government will

 prove that crimes of this nature are taken seriously by this country’s criminal justice

 system and that those who choose to commit such crimes will pay dearly, thereby

 promoting respect for the law.

            The government’s recommended sentence is a just one, especially given that this case

 involves the victimization of an elderly woman who was defrauded out of most of her life’s

 savings. The defendant knew of,5 and indeed this scheme depended upon, the exploitation of a

 vulnerable, lonely, naïve, and elderly widow. See generally Expert Testimony of Dr. Doug

 Shadel. As reflected in the guidelines, the defendant’s punishment should be a substantial one

 that takes into account the fact that the defendant targeted a vulnerable victim.

            As S.O. will explain in her victim impact statement, the harm she suffered through the

 defendant’s and Dobson’s actions was significant. She suffered substantial financial harm and

 her ability to provide for her future living and medical expenses is in question. In the months


 5      The defendant admitted, for the first time at trial, that he took part in the October
 trip to the victim’s home in October, where $65,000 was retrieved. Although the
 defendant contended that he was conveniently asleep when the money was picked up,
 that explanation is not credible.

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 leading up to the trial, she suffered extreme emotional and physical distress. She suffered from

 a number of physical ailments and was required to postpone medical treatments so that she

 could testify on February 10, 2020. She is still recovering from the ordeal of this crime and the

 related court proceedings.

         A 108-month sentence will address the harm the defendant caused to S.O., the multiple

 ways the defendant obstructed and attempted to obstruct justice, and his refusal to accept any

 responsibility for his actions.

  IV.    Specific and general deterrence require the sentence recommended by the
         government.

         The need to deter the defendant from further crimes also weighs heavily in favor of the

 recommended sentence. The defendant made the deliberate choice to engage in this criminal

 activity over and over again for almost a year, weighing the potential rewards of success against

 the likelihood of being caught and the consequences that would follow if he was. A significant

 sentence for this defendant will also send a clear message to other scammers that they can

 plan on spending a significant time in prison if they defraud others. See United States v.

 Musgrave, 761 F.3d 602, 609 (6th Cir. 2014) (“[b]ecause economic and fraud-based crimes are

 more rational, cool, and calculated than sudden crimes of passion or opportunity, these crimes

 are prime candidates for general deterrence”); United States v. Morgan, 635 F. App’x 423, 457

 (10th Cir. 2015) (noting that deterrence “is particularly important in the area of white collar crime”);

 United States v. Courtney, 76 F.Supp. 3d 1267, 1307 n.13 (D.N.M. 2014) (“the Court must still

 consider specific deterrence when sentencing, because Congress demands it”).




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   V.   The need to protect the public from further crimes.

    This defendant, who refuses to acknowledge the wrongfulness of his actions, presents

 a continuing threat to society. There is no question that had defendant not been

 incarcerated for the year prior to his trial, he would have continued working with Dobson

 to defraud other elderly lottery victims across the country. A substantial sentence in this

 case will protect the public from other crimes committed by this defendant during his

 incarceration and hopefully will disrupt Dobson’s and his other co-conspirators’ efforts to

 defraud additional victims in this community and elsewhere.

                                         CONCLUSION

        The government intends to present testimony from FBI Forensic Accountant Matt Morgan

 to prove the loss and forfeiture amounts at the sentencing hearing. Therefore, it respectfully

 requests that the Court allow two hours for the hearing. At that time, the Government will request

 that the Court impose a sentence of 108 months in prison, three years supervised release, and

 the restitution and forfeiture amounts consistent with Mr. Morgan’s testimony.

        Dated this 16th day of March, 2020.




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                                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I certify that on this 16th day of March, 2020, I electronically filed the foregoing

 with the Clerk of the Court using the CM/ECF system that will send notification of

 such filing to all counsel of record in this case.



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